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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


 UNITED STATES OF AMERICA                                                                PLAINTIFF

 VS.                                            CRIMINAL ACTION NUMBER: 3:05CR-78-03-H

 LUIS ENRIQUE DELRIO-OLIVAREZ                                                         DEFENDANT

                                              ORDER

         Pursuant to the Report and Recommendation of the Magistrate Judge Dave Whalin, the
 plea of guilty by the Defendant as to Count 1 of the Superseding Indictment is hereby accepted,
 and the Defendant is adjudged guilty of such offenses.
         In order to comply with the Sentencing Reform Act.
         IT IS ORDERED:
         1. That the sentencing proceedings in the above-styled action be, and they are hereby
 assigned for October 27, 2006 at 11:30 a.m. EST.
         2. That the defendant and defense counsel shall meet with the probation officer for an
 interview promptly, and in no event later that ten (10) days from the date of this order. It
 shall be the responsibility of defense counsel to contact the probation officer to ascertain the time
 and place of the interview, unless defense counsel’s attendance is waived.
         3. That not less that thirty-five (35) days prior to the date of the sentencing hearing,
 the probation officer shall provide a copy of the presentence investigation report (PSR) to
 counsel for the parties. Within fourteen (14) days thereafter, counsel shall submit, by letter,
 all objections to the PSR to the probation officer and opposing counsel. After receiving said
 objections, the probation officer shall conduct a meeting with counsel, investigate the matters of
 concern and, if warranted, revise the PSR accordingly.
         4. That not less than seven (7) days prior to the sentencing hearing, the probation
 officer shall submit the PSR to the undersigned. The PSR shall be accompanied by the
 addendum setting forth all unresolved objections and the probation officer’s comments in regard
 thereto. A copy of the revised PSR, together with the addendum, shall be mailed to counsel for
 the parties.
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         5. That not less than ten (10) days prior to the sentencing hearing the parties shall
 file in the record a memorandum brief in support of their respective positions on any
 unresolved objections to the PSR.
         6. No less than fourteen (14) days prior to the sentencing hearing, each party shall
 file in the record a sentencing memorandum addressing unresolved objections, motions, or other
 relevant issues, discussing both the Sentencing Guidelines and the factors enumerated in 18 USC
 3553. No less than seven (7) days prior to the sentencing hearing, each party shall file a
 response, if necessary. The Probation Office shall also be served with all sentencing
 memoranda.
         7. With the exception of the matters set forth in the addendum, the revised PSR shall be
 accepted as accurate. The matters set forth in the addendum, together with such objections as
 could not have been raised earlier, shall be resolved at the sentencing hearing. In resolving the
 disputed issues of fact, all reliable information shall be considered.
         8. The time set forth in this order may be modified by the court for good cause shown,
  except that the thirty-five (35) day period provided for disclosure of the PSR pursuant to Fed. R.
 Crim.P. 32(b)(6)(A) may be diminished only with the defendant’s consent.
         9. That nothing in this order requires disclosure of any matter exempt therefrom by virtue
 of Fed.R.Crim.P.32(c)(3)(A).
         10. That the PSR will be deemed disclosed:
                 a). When the report is physically delivered to counsel;
                 b). One day after the report’s availability is orally communicated to counsel of
                 c). Three days after notice of its availability is mailed to counsel, or the date of
 availability reflected in the notice, whichever is later.
         11. The disclosure of the PSR to the defendant shall be the responsibility of the
 defendant’s counsel.
         12. That the probation officer not disclose the probation officer’s recommendation, if
 any, on the sentence.


 cc: Counsel of Record
     U.S. Probation

                                                                      August 15, 2006
